Case No. 1:17-cr-00168-CMA          Document 131       filed 07/27/20   USDC Colorado            pg 1
                                             of 1

                                  UNITED STATES DISTRICT COURT           Alfred A. Arraj
                                  FOR THE DISTRICT OF COLORADO           United States Courthouse
                                       OFFICE OF THE CLERK               901 19th Street
                                                                         Denver, Colorado 80294
                                                                         www.cod.uscourts.gov


  Jeffrey P. Colwell                                                     Phone: (303) 844-3433
  Clerk



 Date: 7/27/2020
                                                                           USA or other
      Pro Se           Retained         CJA                   FPD          Federal Agency
                                                                        (Appeal Fee Exempt)

 Case No: 17-cr-00168-CMA-1                                    Amended Notice of Appeal
                                                               Other pending appeals
 Date Filed: 07/24/2020                                        Transferred Successive
                                                               §2254 or §2255
 Appellant: Karen Lynn McClaflin                               Supplemental Record

 Pro Se Appellant:
         IFP forms mailed/given                Motion IFP pending          Appeal fee paid
                                               IFP denied                  Appeal fee not paid

 Retained Counsel:
          Appeal fee paid               Appeal fee not paid                Motion IFP filed

  The Preliminary Record on Appeal is hereby transmitted to the Tenth Circuit Court of
  Appeals. Please refer to the forms, procedures, and requirements for ordering
  transcripts, preparing docketing statements and briefs, and designations of the record
  that are found on the Tenth Circuit’s website, www.ca10.uscourts.gov.

  If not already completed, either an appeal fee payment for filing this case or filing of a
  motion to proceed in forma pauperis will be made to this District Court.

  The transcript order form must be filed in the District Court as well as the Court of Appeals
  within 14 days after the notice of appeal was filed with the District Court.


  If you have questions, please contact this office.

                                              Sincerely,

                                              JEFFREY P. COLWELL, CLERK

                                              by: s/Román Villa
                                                   Deputy Clerk
cc:     Clerk of the Court, Tenth Circuit Court of Appeals
Rev. 8/17/2017
